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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

BRANDON MORRALL,                  :
        Petitioner,               :
                                  :
      v.                          :                Case No. 5:24-cv-00253-CAR-CHW
                                  :
Warden SALES,                     :                Proceedings Under 28 U.S.C. § 2254
           Respondent.            :                Before the U.S. Magistrate Judge
_________________________________ :

                                          ORDER

       Pending before the Court are three motions connected to Petitioner Brandon

Morrall’s federal petition for writ of habeas corpus. For the reasons that follow, Petitioner’s

motion to dismiss Respondent’s amended answer (Doc. 33), motion for appointed counsel

(Doc. 34), and motion for hearing (Doc. 35) are DENIED.

Motion to Dismiss (Doc. 33)

       Petitioner has filed a motion to dismiss Respondent’s amended answer. (Docs. 30,

33). He argues that because Respondent missed two deadlines and withdrew a motion for

dismissal, Respondent’s time for answering has expired and Respondent’s amended answer

should be dismissed and the habeas petition considered unopposed. (Doc. 30). Petitioner’s

arguments are misplaced for several reasons. First, there is no evidence that Respondent

received the first order for response. (Doc. 8); see also (Doc. 22-1, p. 3, n. 2). Second,

regardless of the reason for the passing of the first deadline, Respondent’s failure to answer

would not have entitled to Petitioner to habeas relief. Defaults are not available in habeas

cases. See (Doc. 18). Third, and directly contrary to Petitioner’s argument (Doc. 33, ¶¶ 2,



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6), Respondent did not fail to respond as directed by the Court’s second order for response.

(Doc. 18). As directed, Respondent answered the petition (Doc. 21) and moved to dismiss

the petition as untimely (Doc. 22) on January 3, 2025. Respondent’s subsequent withdrawal

of the motion to dismiss did not negate his timely filed answer. Moreover, Respondent

acted properly, once discovering that his position was no longer supported, in moving to

withdraw the motion to dismiss and amending his answer so that the case may proceed on

its merits.

       Respondent has timely answered the petition, and there is no basis to dismiss the

amended answer as Petitioner requests. Petitioner’s motion to dismiss (Doc. 33) is

DENIED.

Motion to Appoint Counsel (Doc. 34)

       Petitioner now moves for appointed counsel for the fifth time. (Doc. 34); see (Docs.

3, 10, 13, 25). For the reasons previously explained (Docs. 8, 15, 32), the motion (Doc. 34)

is DENIED. Should it later become apparent to the Court that legal assistance is required

to avoid prejudice to Petitioner’s rights, then the Court, on its own motion, will assist

Petitioner in securing counsel at that time.

Motion for Evidentiary Hearing (Doc. 35)

       Petitioner again requests an evidentiary hearing in this matter. (Doc. 35). As

previously explained (Doc. 32), in accordance with Rule 8 of the Rules Governing Section

2254 Cases, the Court will, on its own, review both parties’ filings along with any

transcripts and state-court records and other materials in determining whether to hold an




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evidentiary hearing. Consequently, there is no need for Petitioner to request such a review.

Petitioner’s motion for hearing (Doc. 35) is DENIED.

       SO ORDERED, this 25th day of February, 2025.


                                                 s/ Charles H. Weigle
                                                 Charles H. Weigle
                                                 United States Magistrate Judge




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